     Case 1:21-cr-00314-TFH Document 34 Filed 05/05/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA

       v.                                               Criminal Action No. 21-00314 (TFH)

 SHAWN BRADLEY WITZEMANN,

                               Defendant.


                                      PRE-TRIAL ORDER

       In order to administer the trial of this case in a manner that is fair and just to the parties

and is consistent with the goal of completing the trial in the most efficient manner, it is hereby

       ORDERED that counsel shall comply with each of the following procedures and

requirements:

       1.       BENCH TRIAL. The bench trial will begin on July 27, 2022 at 9:30 a.m. in

Courtroom 26A.

       2.       PRE-TRIAL CONFERENCE. The pre-trial conference will be held on July 26,

2022 at 10:00 AM in Courtroom 26A. The Court will rule on any objections to proposed

exhibits, to the extent possible, at the pre-trial conference, hearing argument as necessary.

       3.       PRE-TRIAL MOTIONS. The parties shall file any pre-trial motions, including

motions to suppress and motions in limine, on or before May 20, 2022; oppositions shall be filed

by June 3, 2022; and replies shall be filed by June 10, 2022.

       4.       PRE-TRIAL MOTIONS HEARING. A pre-trial motions hearing will be held via

ZOOM on June 17, 2022 at 11:00 am.
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     Case 1:21-cr-00314-TFH Document 34 Filed 05/05/22 Page 2 of 2




       5.     JOINT PRE-TRIAL STATEMENT. The parties shall file a Joint Pre-Trial

Statement by July 19, 2022 that contains the following:

              a. a list of expert witnesses, accompanied by a brief description of each
                 witness’s area of expertise and expected testimony, followed by specific
                 objections (if any) to each witness;

              b. a list of any prior convictions that the government intends to use for
                 impeachment or any other purpose, followed by specific objections (if any) to
                 that use;

              c. a list of exhibits that each party intends to offer during trial, with a brief
                 description of each exhibit, followed by specific objections (if any) to the
                 admissibility of any exhibits;
                      i. All exhibits are to be marked in advance of trial and listed on the
                          exhibit form furnished by Courtroom Deputy Clerk Andriea Hill. The
                          written list of exhibits must contain a brief description of each exhibit.
                     ii. At the commencement of trial, counsel shall furnish the Court with
                          two sets of binders containing their exhibit lists and copies of their pre-
                          marked exhibits; and

              d. any stipulations executed or anticipated to be executed.

       6.     TRIAL BRIEFS. The parties shall file trial briefs on or before July 19, 2022.



       SO ORDERED.




       May 5, 2022
                                                         Thomas F. Hogan
                                                     United States District Judge




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